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                                                              CLERK, U.S. DISTRICT COURT
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     3                                                                2/26/2015

     4                                                     CENTRAL DISTRICT OF CALIFORNIA

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     9                      UNITED STATES DISTRICT COURT
    10                     CENTRAL DISTRICT OF CALIFORNIA
                                 WESTERN DIVISION
    11

    12 MARC HAGAN, derivatively on behalf       )   Case No. 2:14-cv-02910 MWF (VBKx)
         of OSI SYSTEMS, INC.,                  )
    13                                          )   _______________
                                                    [PROPOSED] ORDER GRANTING
    14                                Plaintiff,)   PLAINTIFFS’ UNOPPOSED
                                                )   MOTION FOR CONSOLIDATION
    15                   vs.                    )   AND APPOINTMENT OF
    16                                          )   LEADERSHIP STRUCTURE
         DEEPAK CHOPRA, WILLIAM F.              )
    17   BALLHAUS, JR., DAVID FEINBERG, )           Date:      March 2, 2015
    18   STEVEN C. GOOD, MEYER LUSKIN, )            Time:      10:00 a.m.
         and AJAY MEHRA,                        )   Judge:     Hon. Michael W. Fitzgerald
    19                                          )   Courtroom: 1600, 16th Floor
    20
                                  Defendants,)
                                                )
    21                 - and -                  )
                                                )
    22
         OSI SYSTEMS, INC., a Delaware          )
    23   corporation,                           )
                                                )
    24
                           Nominal Defendant.)
    25
         [Caption Continued on Following Page]
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       CITY OF IRVING SUPPLEMENTAL ) Case No. 2:14-cv-09869 MWF (VBKx)
     1
       BENEFIT PLAN, derivatively on behalf )
     2 of OSI SYSTEMS, INC.,                  )
                                              )
     3
                                    Plaintiff,)
     4                 vs.                    )
                                              )
     5
       DEEPAK CHOPRA, AJAY MEHRA, )
     6 WILLIAM F. BALLHAUS, DAVID T. )
       FEINBERG, STEVEN C. GOOD, and )
     7
       MEYER LUSKIN,                          )
     8                                        )
                                 Defendants,)
     9                                        )
    10               - and -                  )
                                              )
    11 OSI SYSTEMS, INC.,                     )
    12                                        )
                         Nominal Defendant.)
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     1         Presently before the Court is a motion by Plaintiffs Marc Hagan (“Hagan”) and
     2 the City of Irving Supplemental Benefit Plan (the “City of Irving”) to (1) consolidate

     3 two related shareholder derivative actions filed on behalf of OSI Systems, Inc.; (2)

     4 appoint Hagan and the City of Irving as Co-Lead Plaintiffs; and (3) appoint Bottini &

     5 Bottini, Inc., The Shuman Law Firm, and Scott+Scott, Attorneys at Law, LLP as Co-

     6 Lead Counsel. Having considered the papers submitted and having heard argument

     7 from counsel, and for GOOD CAUSE shown, the Court rules as follows:

     8         IT IS HEREBY ORDERED that:
     9         1.     Plaintiffs’ motion is granted.
    10         2.     The following actions, which involve common questions of law and fact,
    11 are hereby consolidated for all purposes, including pretrial proceedings, trial, and

    12 appeal, pursuant to Rule 42(a) of the Federal Rules of Civil Procedure:

    13
                    Case Name                    Case Number                  Date Filed
    14

    15       Hagan v. Chopra               No. 2:14-cv-02910-MWF         April 15, 2014
                                           (VBKx) (C.D. Cal.)
    16

    17       City of Irving Supplemental   No. 2:14-cv-09869-MWF         December 29, 2014
             Benefit Plan v. Chopra        (VBKx) (C.D. Cal.)
    18

    19         3.     Every paper filed in the consolidated action shall bear the following
    20 caption:

    21                        UNITED STATES DISTRICT COURT
    22                       CENTRAL DISTRICT OF CALIFORNIA
                                   WESTERN DIVISION
    23

    24 IN RE: OSI SYSTEMS, INC.                        ) Lead Case No. 2:14-cv-02910-MWF
         DERIVATIVE LITIGATION                         ) (VBKx)
    25                                                 )
    26 This Document Relates To:
                                                       ) Derivative Action
                                                       )
    27         ALL ACTIONS                             )
    28

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     1          4.     The files of the consolidated action will be maintained in one file under
     2 the Lead Case No. 2:14-cv-02910-MWF (VBKx).

     3          5.     When any shareholder derivative action that properly should be
     4 consolidated with In re OSI Systems, Inc. Derivative Litigation is filed in this Court,

     5 removed to this Court, or transferred here from another court (“Related Shareholder

     6 Derivative Action”), Co-Lead Counsel (as defined herein) shall, upon notice of the

     7 existence of such action, promptly notify the Court of the filing, removal, or transfer

     8 of such action by filing a Notice of Related Case in both the consolidated action and

     9 the Related Shareholder Derivative Action. Co-Lead Counsel shall promptly serve a

    10 copy of the entered version of this [Proposed] Order upon counsel of record for the

    11 plaintiff(s) in the Related Shareholder Derivative Action and any defendants in such

    12 action that have not previously been named in the consolidated action.

    13          6.     Upon receipt of the above-mentioned notice, the Court shall determine
    14 whether such Related Shareholder Derivative Actions shall be consolidated with In re

    15 OSI Systems, Inc. Derivative Litigation.

    16          7.     The Court finds that the consolidated actions will benefit from the
    17 appointment of co-lead plaintiffs and co-lead counsel. The Court hereby appoints

    18 Hagan and the City of Irving as Co-Lead Plaintiffs. The law firms of Bottini &

    19 Bottini, Inc., The Shuman Law Firm, and Scott+Scott, Attorneys at Law, LLP are

    20 hereby approved as Co-Lead Counsel in the consolidated actions because the firms

    21 have extensive experience in litigating shareholder derivative cases such as this and

    22 have the resources necessary to litigate a case of this nature. Co-Lead Counsel shall

    23 provide general supervision of the activities of plaintiffs’ counsel and shall have the

    24 following responsibilities and duties to perform or delegate as appropriate:

    25                 a.     to brief and argue motions;
    26                 b.     to initiate and conduct discovery, including, without limitation,
    27 coordination of discovery with defendants’ counsel, preparation of written

    28 interrogatories, requests for admission, and requests for production of documents;

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     1                c.     to direct and coordinate the examination of witnesses in
     2 depositions;

     3                d.     to act as spokesperson at pretrial conferences;
     4                e.     to call and chair meetings of plaintiffs’ counsel as appropriate or
     5 necessary from time to time;

     6                f.     to initiate and conduct any settlement negotiations with counsel
     7 for defendants;

     8                g.     to provide general coordination of the activities of plaintiffs’
     9 counsel and to delegate work responsibilities to selected counsel as may be required in

    10 such a manner as to lead to the orderly and efficient prosecution of this litigation and

    11 to avoid duplication or unproductive effort;

    12                h.     to consult and employ experts;
    13                i.     to receive and review periodic time reports of all attorneys on
    14 behalf of plaintiffs, to determine if the time is being spent appropriately and for the

    15 benefit of plaintiffs, and to determine and distribute plaintiffs’ attorneys’ fees; and

    16                j.     to perform such other duties as may be expressly authorized by
    17 further order of this Court.

    18         8.     Any agreement reached between counsel for defendants and Plaintiffs’
    19 Co-Lead Counsel shall be binding on any other counsel for any plaintiff in the

    20 consolidation actions and on plaintiffs.

    21         9.     The Court previously stayed all the proceedings in the first-filed Hagan
    22 action pending the Court’s entry of a ruling on the initial motion(s) to dismiss in

    23 Roberti v. OSI Systems, Inc., No. 13-cv-09174-MWF (VBKx). A similar stay shall

    24 continue in the consolidated actions.

    25         10.    Accordingly, all proceedings, discovery, and deadlines in the
    26 consolidated actions (including deadlines for Defendants to respond to the

    27 complaints) shall be stayed pending the Court’s entry of a ruling on the initial

    28 motion(s) to dismiss in the Roberti action.

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     1         11.    Counsel for defendants and Plaintiffs’ Co-Lead Counsel shall meet and
     2 confer concerning further proceedings in the consolidated action within ten (10) days

     3 of the Court’s ruling on the initial motion(s) to dismiss in the Roberti action to discuss

     4 proposed next steps for the consolidated action.

     5         12.    This stay is without prejudice to the right of any party either to move to
     6 lift the stay or to seek a further stay of this consolidated action, or for any other relief

     7 as may be appropriate.

     8         IT IS SO ORDERED.
     9
                 February 26
         Dated: _______________, 2015             ________________________________
    10
                                                  Honorable Michael W. Fitzgerald
    11                                            UNITED STATES DISTRICT JUDGE
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